                                         Case 3:07-cv-05944-JST Document 4540 Filed 04/04/16 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9                                                        ORDER SCHEDULING ORAL
                                        This Order Relates To:                              ARGUMENT REGARDING JOINDERS
                                  10                                                        TO MOTIONS FOR SUMMARY
                                                                                            JUDGMENT
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          The Court is already scheduled to hold oral argument on April 19, 2016 at 2:00 p.m.

                                  14   regarding a number of issues. ECF No. 4452. The Court now adds to that list Defendants’

                                  15   motions to join various motions for summary judgment. DAPs oppose some of Defendants’

                                  16   joinders, in part, because they were filed after the deadline for dispositive motions. See, e.g., ECF

                                  17   No. 3883. The parties should be prepared to address the practical effect, if any, of the Court’s

                                  18   decisions on the motions for joinder. If different joinders or oppositions have different effects, the

                                  19   parties should so advise the Court. Counsel are requested to designate one or two individuals to

                                  20   speak for each side.

                                  21          IT IS SO ORDERED.

                                  22   Dated: April 4, 2016
                                                                                        ______________________________________
                                  23
                                                                                                      JON S. TIGAR
                                  24                                                            United States District Judge

                                  25

                                  26
                                  27

                                  28
